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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    :       Criminal No. _________
                                             :
               v.                            :       Offenses:
                                             :
SAMSON OLAWALE AFOLABI,                      :       18 U.S.C. § 1956(h)
                                             :       (Conspiracy To Launder
                       Defendant.            :       Monetary Instruments)
                                             :
                                             :       Forfeiture: 18 U.S.C. § 982(a)(1),
                                             :       21 U.S.C. § 853(p)

                                          INFORMATION

       The United States Attorney charges that:

       At all times material to this Information:

                                       COUNT ONE
                       (Conspiracy To Launder Monetary Instruments)

       1.      From at least on or before October 2017, continuing through at least on or about

August 2018, in the District of Columbia and elsewhere, the defendant Samson Olawale Afolabi

(the “Defendant”), did knowingly and willfully combine, conspire, confederate and agree with

other persons to violate:

               a.      Title 18, United States Code, Section 1956(a)(1)(B)(i), by conducting and

       attempting to conduct financial transactions affecting interstate commerce, that is, the

       deposits and withdrawals of funds from bank accounts, which involved the proceeds of

       specified unlawful activity, that is, bank fraud, knowing that the property involved in these

       financial transactions represented the proceeds of some form of unlawful activity, and

       knowing that the transactions were designed in whole and in part to conceal and disguise

       the nature, the location, the source, the ownership, and the control of the proceeds of

       specified unlawful activity; and
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               b.      Title 18, United States Code, Section 1957, by knowingly engaging and

       attempting to engage in monetary transactions by, through, or to a financial institution,

       affecting interstate commerce, in criminally derived property of a value greater than

       $10,000, that is by obtaining checks, such property having derived from a specified

       unlawful activity, that is bank fraud;

all in violation of Title 18, United States Code, Section 1956(h).

               (Conspiracy To Launder Monetary Instruments, in violation of
                       Title 18, United States Code, Section 1956(h))

                                 FORFEITURE ALLEGATION

       1.      Upon conviction of the offenses alleged in Count One, the Defendant shall forfeit

to the United States any property, real or personal, involved in the offense, and any property

traceable thereto, pursuant to Title 18, United States Code, Section 982(a)(1). The United States

will also seek a forfeiture money judgment for a sum of money equal to the value of any property,

real or personal, involved in Count One, and any property traceable thereto.

       2.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the Defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property that cannot be divided without

                       difficulty;




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the Defendant shall forfeit to the United States any other property of the Defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p).

     (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 982(a)(1);
                    and Title 21, United States Code, Section 853(p))



                                              CHANNING D. PHILLIPS
                                              ACTING UNITED STATES ATTORNEY
                                              D.C. BAR NO. 415793


                                      BY:     _____________________________________
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